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                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
                                             Baltimore Division


UNITED STATES OF AMERICA,                           Case No.: 1:21-cr-00458-JKB-1



                              v.                    AMENDED MOTION TO SUPPRESS
                                                    STATEMENTS
ELIAS COSTIANES,

                                    Defendant.



                        COMES NOW, Elias Costianes, through counsel, pursuant to Rule
12(b)(3) of the Federal Rules of Criminal Procedure to respectfully request this
Honorable Court to prohibit, at the trial in this matter, the use of any and all
statements made by the defendant. In support of this motion counsel has provided
the accompanying Memorandum of Points and Authorities.
Dated: December 29, 2021

                                                         Joseph R. Digitally        signed by
                                                                           Joseph R. Conte

                                                         Conte             Date: 2021.12.29
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                                                            Joseph R. Conte
                                                            Counsel for Elias Costianes
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UNITED STATES OF AMERICA,                             Case No.: 1:21-cr-00458-JKB-1



                              v.                      AMENDED MOTION TO SUPPRESS
                                                      STATEMENTS
ELIAS COSTIANES,

                                    Defendant.



                                                 BACKGROUND


                        On February 12, 2021, Mr. Costianes was arrested by members of the

Federal Bureau of Investigation who were simultaneously executing a search

warrant on his home. While in his home Mr. Costianes was interrogated concerning

the firearms in his home. While in transit from his home in Nottingham, Maryland

and the FBI Field Office in Washington, D.C. the defendant was alleged to have

made further statements to the agents. On February 17, 2001, under the guise of

returning personal property seized during the search, Mr. Costianes was again

placed in custody and taken to the Franklin Square Hospital, Baltimore, Maryland

where further statements were elicited from Mr. Costianes.

The statements were made while the defendant was in custody and prior to being

advised of or fully understanding his Miranda v. Arizona 384 U.S. 463 (1966) rights


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or the waiver of these rights was defective. Additionally, the statements were not

voluntary. Further, these statements of February 17, 2021, were taken by agents

who were aware that Mr. Costianes was represented by counsel and without

counsel being present.



                                              ARGUMENT



I. Miranda.



                        Before interrogating a person who is in custody "or otherwise deprived

of his or her freedom of action in any significant was," the police must expressly

advise the person (1) that he or she has a right to remain silent; (2) that any

statement he or she makes may be used as evidence against him or her; (3) that he

or she is entitled to "to consult with a lawyer and to have a lawyer with him or her

during interrogation"; (4) that an attorney will be appointed to represent him or her

if he or she cannot afford to retain one; and (5) that he or she may exercise any of

these rights at any point during the interrogation. Miranda v. Arizona, 384 U.S.

436, 444, 471 (1966). Accord Dickerson v. United States 120 S.Ct. 2326 (2000) The

Miranda requirements apply if a person is in custody "or otherwise deprived of his

freedom of action in any significant way." 384 U.S. at 444. See also, Rhode Island



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v. Innis, 446 U.S. 291 (1980). Absent full Miranda warnings any statement is

inadmissible.



II. Voluntariness

                        The government has the burden of proving by a preponderance of the

evidence that the defendant's confession or statement is voluntary. See Lego v.

Twomey, 404 U.S. 477, 484 (1972); United States v. Wiggins, 166 U.S. App. D.C.

121, 128, 509 F.2d 454, 461 (1975); Hawkins v. United States. The test for

voluntariness is whether the confession is "the product of an essentially free and

unconstrained choice by its maker.: Culombe v. Connecticut, 367 U.S. 568, 602

(1961) (plurality opinion), approved in Schneckloth v. Bustamonte, 412 U.S. 218,

225-26 (1973).

                        The question of the voluntariness of a confession is separate and

distinct from the issue of compliance or non-compliance with the requirements of

Miranda v. Arizona, 384 U.S. 436 (1966). Thus, as the evidence will show

voluntariness may still be an issue even though the Miranda requirements have

been met. See United States v. Bernett, 161 U.S. App. D.C. 363, 368-70, 495 F.2d

943, 948-50 (1974).

                        The Supreme Court has noted that "a confession, in order to be

admissible, must be free and voluntary; that is, . . . not. . . obtained by any direct or



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implied promises, however slight.: Shotwell Mfg. Co. v. United States, 371 U.S. 341,

347 (1963) (quoting Bram v. United States, 168 U.S. 532, 542-43 (1897)). Promises

of leniency or threats of additional prosecution made by the police constitute

psychological "coercion," so that resulting statements are involuntary. See United

States v. Blocker, 354 F.Supp. at 1201 n. 31.

III. Absence of Counsel

                        On February 12, 2021, Mr. Costianes appeared for an Initial

Appearance before Magistrate Judge Zia M. Faruqui in the United States District

Court for the District of Columbia, Case Number 121-cr-00180-RJL-1, on an arrest

warrant issued concomitant with the search warrant. At the hearing Mr. Costianes

orally moved for appointment of counsel and counsel was subsequently appointed.

Having been appointed counsel the agents were required to contact counsel before

meeting with and/or questioning Mr. Costianes.

                        A hearing on this motion will show that the defendant's statements

were not voluntary and were made while under arrest but before the defendant was

advised of his rights before the defendant fully understood his rights and without

counsel present.

                        WHEREFORE counsel respectfully requests that this motion be

granted.

Dated: December 29, 2021



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